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  8   Chapter 7 Trustee

  9                           UNITED STATES BANKRUPTCY COURT
 10              CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 11
      In re:
                                                     Chapter 7 Proceeding
 12
      ALAIN AZOULAY,
 13                                                  Case No. 8:19-bk-11550-TA

 14                                                  NOTICE OF MOTION AND MOTION
                    Debtor.                          FOR ORDER:
 15
                                                     (1) APPROVING SALE OF REAL
 16                                                      PROPERTY LOCATED AT 327
                                                         SALTA VERDE POINT, LONG
 17                                                      BEACH, CA 90803;
                                                     (2) APPROVING SALE FREE AND
 18
                                                         CLEAR OF LIENS;
 19                                                  (3) APPROVING CARVE-OUT
                                                         AGREEMENT;
 20                                                  (4) APPROVING PAYMENT OF
 21                                                      AGENTS’ COMMISSIONS;
                                                     (5) FINDING BUYERS ARE GOOD
 22                                                      FAITH PURCHASERS; AND
                                                     (6) WAIVING THE 14-DAY STAY
 23
                                                         IMPOSED BY FRBP 6004(h)
 24                                                  MEMORANDUM OF POINTS AND
                                                     AUTHORITIES AND DECLARATIONS
 25                                                  OF RICHARD A. MARSHACK AND
                                                     CLARENCE YOSHIKANE IN
 26                                                  SUPPORT THEREOF
 27                                                  Date:   December 17, 2019
                                                     Time:   11:00 a.m.
 28                                                  Ctrm:   5B

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  1          TO     THE      HONORABLE           THEODOR         C.   ALBERT,     UNITED       STATES

  2   BANKRUPTCY JUDGE, AND ALL PARTIES IN INTEREST:

  3          PLEASE TAKE NOTICE THAT Richard A. Marshack (“Trustee”), the chapter 7 trustee

  4   for the bankruptcy estate of Alain Azoulay (“Debtor”), hereby brings this Motion for an Order: (1)

  5   Approving Sale of Real Property located at 327 Salta Verde Point, Long Beach, CA 90803

  6   (“Property”); (2) Approving Sale Free and Clear of Liens; (3) Approving Carve-Out Agreement

  7   With Bank of America, N.A. (“BofA”); (4); Approving Payment of Agents’ Commissions; (5)

  8   Finding Buyers Are Good Faith Purchasers; and (6) Waiving the 14-Day Stay Imposed By FRBP

  9   6004(h) (“Motion”). As discussed herein, the Property is not Debtor’s residence but rather a rental

 10   property and the first lien holder, Bank of America (“BofA”), which is under secured, has agreed

 11   to a short sale whereby, among other things, broker commissions will be paid and the estate shall

 12   receive $67,500 net for the estate (or 5% of the sale price).

 13          PLEASE TAKE FURTHER NOTICE that this Motion is based on this Notice, the

 14   attached Memorandum of Points and Authorities, the Declaration of Richard A. Marshack (the

 15   “Marshack Declaration”), the Declaration of Clarence Yoshikane (the “Yoshikane Declaration”),

 16   all pleadings and papers on file in this matter, and such other and further oral and documentary

 17   evidence as the Court may considered at the hearing on this Motion.

 18          PLEASE TAKE FURTHER NOTICE that any response to this Motion must be filed and

 19   served no later than 14 days prior to the hearing on this Motion. See Local Bankruptcy Rule

 20   (“LBR”) 9013-1(f). Failure to timely file a response to this Motion may be deemed as consent to

 21   the relief requested by this Motion. See LBR 9013-1(h).

 22                                                 Respectfully submitted,
 23
      Dated: November 26, 2019                      GOE FORSYTHE & HODGES LLP
 24
                                                    By: /s/Robert P. Goe_______________________
 25                                                    Robert P. Goe
                                                       Attorneys for Chapter 7 Trustee,
 26
                                                       Richard A. Marshack
 27
 28

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  1                  Statement of Information in Compliance with LBR 6004-1(c)(3)
       LBR 6004-1(c)(3)(A)          December 17, 2019, at 11:00 a.m.
  2
       The date, time, and place    411 West Fourth Street, Courtroom 5B, Santa Ana, CA 92701
  3    of the hearing on the
       proposed sale
  4
       LBR 6004-1(c)(3)(B)           Oscar Mendoza, Elizabeth Loera, and Linda Mendoza
  5    The name and address of       c/o Coldwell Banker Residential Brokerage/Clarence Yoshikane
       the proposed buyer            840 Newport Center Drive, Suite 100, Newport Beach, CA 92660
  6
       LBR 6004-1(c)(3)(C)           Single Family Residence located at 327 Salta Verde Point, Long
  7    A description of the          Beach, CA 90803
       property to be sold           (APN:7242-028-104)
  8
       LBR 6004-1(c)(3)(D)           Price: $1,350,000
  9    The terms and conditions      Property will be sold “as is” without representations or warranties
 10    of the proposed sale,         of any kind, expressed or implied, concerning the condition of the
       including the price and all   Property, the quality of title thereto, or any other matters relating
 11    contingencies                 to the Property.
                                     Sale is subject to overbidding during the sale hearing.
 12    LBR 6004-1(c)(3)(E)           The Sale will be free and clear of all liens against the Property
       Whether the proposed sale     pursuant to 11 U.S.C. § 363(f).
 13    is free and clear of liens,
 14    claims or interests, or
       subject to them, and a
 15    description of all such
       liens, claims, or interests
 16
       LBR 6004-1(c)(3)(F)           The Sale is subject to overbidding during an auction to be held
 17    Whether the proposed sale     during the hearing on this Motion. The bidding procedures are
       is subject to higher and      described on pages 7-9 of the Motion.
 18    better bids
 19    LBR 6004-1(c)(3)(G)           Trustee estimates the bankruptcy estate will receive
       The consideration to be       approximately $67,500 (or 5% of the sale price) in net proceeds
 20    received by the estate,       from the Sale. Agent (defined below), BKGRES (defined below),
       including estimated           and any buyer’s agent will share in a 5% commission as an 11
 21
       commissions, fees, and        U.S.C. § 506 surcharge, as detailed below.
 22    other costs of sale

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        LBR 6004-1(c)(3)(H)             The Court has previously approved Trustee’s employment of
  1
        If authorization is sought to   Clarence Yoshikane with Coldwell Banker (“Agent”) as his real
  2     pay a commission, the           estate agent. The Court has previously approved Trustee’s
        identity of the auctioneer,     employment of BK Global Real Estate Services (“BKGRES”). A
  3     broker, or sales agent and      real estate commission in an amount equal to a minimum of 5%
        the amount or percentage        of the sale price will be paid from the proceeds from the sale of
  4     of the proposed                 the Property. Agent, BKGRES, and any agent for the buyer(s)
        commission to be paid           will receive 1/3 of the 5% commission, which 5% commission
  5
                                        will be paid by BofA as an 11 U.S.C. § 506 surcharge.
  6     LBR 6004-1(c)(3)(I)             Trustee is not aware of any negative tax consequences to the
        A description of the            estate. All outstanding and prorated property taxes, if any, will
  7     estimated or possible tax       be paid through escrow.
        consequences to the estate,
  8     if known, and how any tax
  9     liability generated by the
        sale of the property will be
 10     paid

 11     LBR 6004-1(c)(3)(J)             December 3, 2019.
        The date which an
 12     objection must be filed and
        served
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  1                          MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.     JURISDICTION
  3          1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157
  4   and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A), (M),
  5   (N), and (O).
  6          2.       Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
  7          3.       The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal
  8   Rules of Bankruptcy Procedure (“FRBP”) 2002 and 6004.
  9   II.    BACKGROUND
 10          4.       On April 25, 2019 (“Petition Date”), Debtor filed a voluntary petition for relief
 11   under Chapter 7 of the Bankruptcy Code, commencing the above-captioned case.
 12          5.       Richard A. Marshack is the duly appointed, qualified, and acting chapter 7 trustee
 13   for Debtor’s estate.
 14          6.       In Debtor’s Schedule A, he lists an ownership interest in the Property [APN: 7242-
 15   028-104].
 16          A.       The Property and Liens
 17          7.       On April 22, 2006, Debtor signed a deed of trust (“DoT”) creating a lien against the
 18   Property (defined below) in the original amount of $1,150,000 in favor of Bank of America, N.A.
 19   (the “BofA Lien”). On April 28, 2006, BofA recorded the DoT in the Los Angeles County
 20   Recorder’s Office as instrument number 06-937210. The current payoff balance to BofA is
 21   approximately $1,342,954.
 22          8.       According to the Preliminary Title Report (“PTR”), the Property is also
 23   encumbered by homeowners association assessment liens in favor of the Spinnaker Bay
 24   Homeowners Association (“HOA”). A true and correct copy of the PTR is attached to the
 25   Marshack Declaration as Exhibit “1”. The first of which was recorded on August 10, 2010, as
 26   instrument number XX-XXXXXXX in the amount of $1,440; the second of which was recorded on
 27   May 29, 2012 as instrument number 12-790961 in the amount of $1,555.00 (collectively the
 28   “HOA Liens”). Further, the Property is encumbered by three judgment liens. Specifically, the

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  1   judgment liens are in favor of Midland Funding, LLC in the amount of $8,893.10 (recorded on
  2   June 29, 2012 as instrument number 12-972496), Paul W. Wylie as Trustee of the Urban Coyotes
  3   Living Trust dated July 1, 2001 and Linton Family LLC, a Nevada limited liability company in the
  4   amount of $6,281.90 (recorded on August 22, 2012 as instrument number XX-XXXXXXX), and Cach,
  5   LLC in the amount of $3,092.40 (recorded on July 15, 2014 as instrument number 14-728764)
  6   (collectively “Judgment Liens”), respectively.
  7          B.      Employment of Brokers
  8          On October 11, 2019, Trustee filed the Application to Employ (1) BKGRES and (2) Agent
  9   as his real estate agent (the “Application”) [Docket No. 46]. On November 1, 2019, the Court
 10   entered an Order approving the Application [Docket No. 51]. A real estate commission in an
 11   amount equal to a minimum of 5% of the sale price will be paid from the proceeds from the sale of
 12   the Property. Agent, BKGRES, and any agent for the buyer(s) will each receive 1/3 of the 5%
 13   commission, which 5% commission will be paid by BofA as an 11 U.S.C. § 506 surcharge.
 14          C.      Marketing Efforts

 15          Agent has extensively marketed the Property. The Agent’s marketing efforts have included

 16   listing the Property on the CRMLS Matrix. Yoshikane Declaration, ¶ 2. Additionally, the Agent

 17   has marketed the Property on the following online platforms: Coldwell Banker Residential

 18   Brokerage website; Agent’s website; Zillow.com; Trulia.com; Realtor.com; Facebook; Twitter;

 19   and LinkedIn. Id. Finally, the Property has been actively marketed in the following print formats:

 20   tract mailings; Agent’s farm mailings; and Dream Homes magazine. Id.

 21          The Agent’s marketing efforts were successful. Specifically, Trustee has received an offer

 22   from Oscar Mendoza, Elizabeth Loera, and Linda Mendoza (collectively, “Buyers”) for

 23   $1,350,000. A true and correct copy of the Residential Purchase Agreement and Joint Escrow

 24   Instruction including addendums (collectively, “PSA”) is attached to the Marshack Declaration as

 25   Exhibit “2”.

 26          D.      Tenant on Property

 27          The Property is currently leased by Munir Ahmen (“Tenant”). To date, the Tenant has

 28   been cooperative with the Trustee in his efforts to effectuate a sale of the Property, and Trustee is

                                                       6
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  1   advised that Buyers want Tenant to remain and post-closing a new rental agreement will be
  2   reached.
  3          E.      The Proposed Sale
  4          The Trustee has determined that it is in the best interest of the estate and its creditors to
  5   proceed with the proposed sale of the Property to the Buyers for the sum of $1,350,000 (the
  6   “Sale”), subject to overbid, as described below. Marshack Declaration, ¶ 12.
  7           By this Motion, Trustee seeks approval to sell the Property, free and clear of liens, on
  8   substantially the terms and conditions set forth in the PSA, which reflects the material terms
  9   agreed to between Trustee and the Buyers. The parties may agree on minor, non-material changes
 10   to the PSA prior to the hearing on the Motion. A true and correct copy of the proposed closing
 11   statement and approved by Secured Creditor is attached to the Marshack Declaration as Exhibit
 12   “3”.
 13   III.   THE PROPOSED SALE AND BIDDING PROCEDURES
 14          A.      Terms of Sale
 15          The Trustee seeks to sell the Property to Buyers, subject to overbidding pursuant to the
 16   bidding procedures herein, free and clear of the BofA Liens, HOA Liens, and Judgment Liens
 17   pursuant to 11 U.S.C. § 363(f)(1), (2), and (5).
 18          The proposed terms of the Sale include the following:
 19          1.      Subject to Court approval and overbid, the Trustee has accepted the Buyers’ offer
 20   to purchase the Property for the sum of $1,350,000, free and clear of all liens, claims, and
 21   interests. The Buyers made an initial deposit by certified check in the amount of $50,000, which
 22   is currently held in trust, pending Court approval of the Sale. Marshack Declaration, ¶¶ 8-9.
 23          2.      The proposed Sale shall be “as is,” “where is,” “with all faults,” and without any
 24   warranties, and the transfer of the Property shall be by grant deed.
 25          3.      The Sale is subject to overbidding pursuant to the bidding procedures described
 26   herein (“Bidding Procedures”). Any party wishing to make a bid to purchase the Property must
 27   comply with these Bidding Procedures.
 28

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  1           4.      Potential overbidders must bid at least $10,000 greater than the Buyers’ (“Original
  2   Bidder”) original bid of $1,350,000 or $1,360,000. Minimum bid increments thereafter shall be
  3   $1,000. Trustee shall have sole discretion in determining which overbid is the best for the
  4   bankruptcy estate.
  5           5.      Overbids must be in writing and received by the Trustee on or before 5:00 p.m.
  6   Pacific Standard Time on December 12, 2019. Overbids must be accompanied by a good faith
  7   deposit in the amount of $50,000 in certified funds.
  8           6.      Overbidders must agree to purchase the Property on the terms and conditions set
  9   forth in the PSA or on terms no less favorable to the bankruptcy estate.
 10           7.      Overbidders must provide evidence, reasonably acceptable to the Trustee, of the
 11   bidder’s ability and financial wherewithal to fully and timely close the sale of the Property on the
 12   terms and conditions set forth in the PSA.
 13           8.      All overbids must acknowledge that the Property is being sold on an “as-is” basis
 14   without warranties of any kind, expressed or implied, concerning the condition of the Property, the
 15   quality of title thereto, or any other matters relating to the Property.
 16           9.      If any overbids are received, an auction will be conducted before the Court during
 17   the hearing on this Motion. During the auction, the Trustee will accept the highest and best offer
 18   to purchase the Property in the exercise of his business judgment and subject to Court approval
 19   (“Successful Bidder” the amount the “Successful Bid”) and designate the next highest and best
 20   offer to purchase the Property (“Back-Up Bidder”). Thereafter, Trustee will request a Court order
 21   that, among other things, approves the sale of the Property to the Successful Bidder.
 22           10.     If a Successful Bid is accepted and confirmed by the Court, then the Successful
 23   Bidder is to reimburse the Original Bidder up to $2,000 for costs incurred.             Only physical
 24   inspection, termite inspection, and loan appraisal are reimbursable expenses. Proof of monies
 25   spent and all inspection documents to be given to Trustee and Successful Bidder, if applicable.
 26           11.     In the event that the Successful Bidder fails to close on the sale of the Property
 27   within the time parameters approved by the Court, then Trustee shall retain the Successful
 28   Bidder’s good faith deposit, and Trustee shall be released from any obligation to sell the Property

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  1   to the Successful Bidder. Trustee may then sell to Property to the Back-Up Bidder.
  2          These Bidding Procedures will be provided to all creditors and any potential bidders or
  3   parties that have shown an interest in the Property. The Trustee believes that these Bidding
  4   Procedures, along with Agent and BKGRES’ thorough marketing, will ensure that the highest and
  5   best price is received for the Property.
  6          On the basis of the foregoing considerations, the Trustee believes that the proposed Sale is
  7   fair and reasonable and will ensure that the estate realizes the highest possible sales price for the
  8   Property.
  9   IV.    ARGUMENT
 10          By this Motion, Trustee seeks an Order: (1) Approving the Sale of the Property; (2)
 11   Approving Sale Free and Clear of Liens; (3) Approving the Carve-Out; (4); Approving Payment
 12   of Agents’ Commissions; (5) Finding Buyers Are Good Faith Purchasers; and (6) Waiving the 14-
 13   Day Stay Imposed By FRBP 6004(h).
 14          A.      The Sale Should Be Free And Clear of All Liens
 15          The Trustee seeks authority to complete the Sale free and clear of all liens, claims, and
 16   interests. Section 363(f) allows a trustee to sell property of the bankruptcy estate “free and clear
 17   of any interest in such property of an entity,” if any one of the following five conditions is met:
 18                  (1)     Applicable non-bankruptcy law permits a sale of such property free
                             and clear of such interest;
 19                  (2)     Such entity consents;
 20                  (3)     Such interest is a lien and the price at which such property is to be
                             sold is greater than the aggregate value of all liens on such property;
 21                  (4)     Such interest is in bona fide dispute; or
                     (5)     Such entity could be compelled, in a legal or equitable proceeding,
 22                          to accept money satisfaction of such interest.
 23   11 U.S.C. § 363(f).

 24                   i. The HOA Liens and Judgment Liens

 25          The Sale free and clear should be approved as to the HOA Liens and Judgment Liens.

 26   Section 363(f)(1) allows a sale to proceed, free and clear of liens, if the power to sell free and clear

 27   exists outside of bankruptcy in another body of law. The existence of this power is unquestionable

 28   under both federal and state law.

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  1          It is well established that property can be sold free and clear of liens in a federal
  2   receivership action. See, e.g., First Nat’l Bank v. Shedd, 121 U.S. 74, 87 (1887); Randolph v.
  3   Scranton, M. & B. R. Co., 4 F. Supp. 861, 863 (M.D. Pa. 1931) aff’d Miners’ Bank of Wilkes-
  4   Barre v. Acker, 66 F.2d 850 (3d Cir. 1933) (“It is clear that this court has the jurisdiction and
  5   power to order such a sale.”); Broadway Tr. Co. v. Dill, 17 F.2d 486 (3d Cir. 1927) (“The removal
  6   of alleged liens or incumbrances upon property, the closing up of affairs of insolvent corporations,
  7   and the administration and distribution of trust funds, are subjects over which courts of equity
  8   have general jurisdiction.”) (citation and internal quotations omitted); see also John T. Callahan &
  9   Sons, Inc. v. Dykeman Elec. Co., 266 F. Supp. 2d 208 (D. Mass. 2003).
 10          In Mellen v. Moline Malleable Iron Works, the U.S. Supreme Court stated that “the
 11   removal of alleged liens or encumbrances upon property, the closing up of affairs of insolvent
 12   corporations, and the administration and distribution of trust funds, are subjects over which courts
 13   of equity have general jurisdiction.” 131 U.S. 352, 367 (1889). It is also well settled that a
 14   property can be sold free and clear of liens pursuant to California’s judicial foreclosure laws. Cal.
 15   Code Civ. Proc., § 701.630. Since the power to sell free and clear exists under external sources of
 16   law, this power is vested in this Court under Section 363(f)(1).
 17          The Sale should also be approved free and clear pursuant to Section 363(f)(5).
 18   Specifically, a sale will be authorized if the lien holder could be compelled, in a legal or equitable
 19   proceeding, to accept a money satisfaction of such interest. See In re Jolan, Inc., 403 B.R. 866
 20   (Bankr. W.D. Wash. 2009). Courts have held that Section 363(f)(5) applies whenever an interest
 21   in the property to be sold is of a nature that such interest could be satisfied with money – as
 22   opposed to specific performance being the only remedy. See, e.g., In re Trans World Airlines,
 23   Inc., 322 F.3d 233, 290-91 (3d Cir. 2003) (because employees’ claims were “subject to monetary
 24   valuation,” debtor’s assets could be sold free and clear of successor liability for such claims under
 25   § 363(f)(5)).
 26          Here, the HOA and the holders of the Judgment Liens could be compelled to accept
 27   payment for their respective debts in return for the release of their liens through either a federal
 28   receivership proceeding, a California receivership proceeding, a hypothetical foreclosure sale by

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  1   one of the lienholders, or a cramdown. Therefore, the Trustee seeks approve to sell the Property
  2   free and clear of the HOA Liens and the Judgment Liens pursuant to 11 U.S.C. §§ 363(f)(1) and
  3   (f)(5).
  4             Further, in the absence of any objection, any claimed lienholder is deemed to have
  5   consented to the proposed sale. A lienholder’s failure to object to a proposed sale free and clear
  6   may be deemed consent. Yacoobian Enters., L.P. v. Canico Enters., LLC (In re Yacoobian Enters.
  7   LP), Nos. 1:10-bk-19542-GM, 1:11-ap-01201-GM, 2012 Bankr. LEXIS 4062, at *6 (Bankr. C.D.
  8   Cal. Sep. 4, 2012) (“[a] foreclosure sale is a sale of the property. Section 363(f)(2) can be
  9   interpreted to mean that [a lienholder’s] silence was consent to the sale.”); Futuresource L.L.C. v.
 10   Reuters Ltd., 312 F.3d 281, 285-86 (7th Cir. 2002); Pelican Homestead v. Wooten (In re Gabel),
 11   61 B.R. 661, 667 (Bankr. W.D. La 1985) (failure to object constitutes implied consent).
 12                    ii. The BofA Lien
 13             The Trustee seeks an Order to complete the sale free and clear of all liens, claims, and
 14   interests. The BofA Lien will be paid pursuant to the Carve-Out (discussed below) (See Exhibit
 15   “3”). Further, BofA consents to the Sale, and the Trustee does not anticipate that any taxing
 16   authorities will oppose this Motion. Accordingly, the Trustee seeks an Order approving the sale of
 17   the Property free and clear of the BofA Lien, HOA Liens, and the Judgment Liens pursuant to 11
 18   U.S.C. §§ 363(f)(1), (2), and (5).
 19             B.     The Carve-Out
 20             “[T]he sale of a fully encumbered asset is generally prohibited.” In re KVN Corp., 514
 21   B.R. 1, 5 (9th Cir. BAP 2014) (citations omitted). Such a sale, however, may nevertheless be
 22   justified through a negotiated carve-out agreement with the secured creditor. Id. at 6.
 23             In determining whether to approve a sale subject to a carve-out agreement, the trustee must
 24   present evidence addressing the following questions: “Has the trustee fulfilled his or her basic
 25   duties? Is there a benefit to the estate; i.e. prospects for a meaningful distribution to unsecured
 26   creditors? Have the terms of the carve-out agreement been fully disclosed to the bankruptcy
 27   court?” KVN Corp, 514 B.R. at 8. If the answer to these questions demonstrates that the estate
 28   will be benefitted, then the proposed carve-out should be approved. Here, the Property cannot be

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  1   sold absent approval of the Carve-Out and the proposed Carve-Out will provide substantial benefit
  2   to the Estate.
  3           Here, in order to provide for the payment of expenses in this chapter 7 case and to afford
  4   general unsecured creditors an opportunity to participate in any recovery from the sale of the
  5   Property, BofA has agreed the Trustee will receive 5% (assuming the minimum bid is at least
  6   $1,305,000) of the Successful Bid plus the Agent’s Commission (the “Carve-Out”). BofA has
  7   agreed to the Sale at$1,350,000 (See Exhibit “3”). The Trustee shall be provided additional
  8   insurance by BofA to cover the Trustee and the estate from hazards during the sale process and up
  9   through and including the closing of any sale. The cost of the insurance shall be billed directly to
 10   BofA, and the expense of the insurance shall not be paid by the estate but shall be paid by BofA.
 11                     i.   The Trustee Has Fulfilled His Basic Duties
 12           The Trustee has a duty to administer the assets of the estate for the benefit of creditors. 11
 13   U.S.C. § 704. In negotiating and obtaining the proposed Carve-Out, the Trustee was able to obtain
 14   BofA’s agreement to carve-out at least $67,500 from the BofA Lien for the benefit of allowed
 15   administrative and unsecured claims. By obtaining BofA’s agreement to the Carve-Out, the
 16   Trustee has done all that is possible to ensure that a sale of the Property will benefit to the estate
 17   and its creditors.
 18                    ii.   There Is A Benefit to The Estate
 19           Benefit to the estate is typically measured by a “meaningful distribution to unsecured
 20   claims.” In re Scoggins, 517 B.R. 206, 222 (Bankr. E.D. Cal. 2014). For example, there is a
 21   meaningful distribution to unsecured claims if the distribution to be made is greater than the
 22   trustee’s fees. Id. at 223.
 23           Here, the Trustee estimates that his statutory fee for the sale of the Property would exceed
 24   the amount of the proceeds generated through the Carve-Out. However, the Trustee has agreed to
 25   accept the Carve-Out and reduce his commission to ensure that the Sale benefits unsecured
 26   creditors.   The attorney’s fees incurred by the estate in negotiating and documenting the
 27   Agreement and in seeking Court approval will be capped. Consequently, the Agreement provides
 28   a benefit to unsecured creditors.

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  1                  iii.   The Terms of the Carve-Out Have Been Fully Disclosed to The Court
  2            The agreement between the Trustee and BofA concerning the Carve-Out has been fully
  3   disclosed above. Therefore, the full terms of the Agreement have been fully disclosed to the
  4   Court.
  5            C.     The Property Should be Sold Pursuant to 11 U.S.C. § 363(b)
  6            Section 363(b) of the Bankruptcy Code provides that after a notice and a hearing, a trustee
  7   may sell property of the estate outside the ordinary course of business. 11 U.S.C. §§ 363(b),
  8   1107(a). “The court’s obligation in § 363(b) sales is to assure that optimal value is realized by the
  9   estate under the circumstances. The requirement of a notice and hearing operates to provide both
 10   a means of objecting and a method for attracting interest by potential purchasers.” Simantob v.
 11   Claims Prosecutor, L.L.C. (In re Lahijani), 325 B.R. 282, 288-89 (B.A.P. 9th Cir. 2005).
 12            In determining whether to approve a proposed sale under § 363, courts generally apply
 13   standards that, although stated various ways, represent essentially a business judgment test. 3
 14   Collier on Bankruptcy P 363.02[4] (16th 2019). “Ordinarily, the position of the trustee is afforded
 15   deference, particularly where business judgment is entailed in the analysis or where there is no
 16   objection.” Simantob v. Claims Prosecutor, L.L.C. (In re Lahijani), 325 B.R. 282, 289 (B.A.P. 9th
 17   Cir. 2005). The bankruptcy court reviews the trustee’s business judgment only “to determine
 18   independently whether the judgment is a reasonable one. The court should not substitute its
 19   judgment for the trustee’s but should determine only whether the trustee’s judgment was
 20   reasonable and whether a sound business justification exists supporting the sale and its terms.” 3
 21   Collier on Bankruptcy P 363.02[4] (16th 2019).
 22            A sound business justification for the Sale exists. Absent the sale of the Property as
 23   described herein, the Debtor’s unsecured creditors would not have an opportunity to participate in
 24   any recovery from the sale of the Property.
 25            The Trustee is required to give notice of any sale of property of the estate. See 11 U.S.C. §
 26   363(b)(1). Here, the Trustee will give notice to the Debtor, the United States Trustee, all known
 27   creditors, and any other prospective buyers.        Service of the Motion is proper and thereby
 28   constitutes adequate and reasonable notice. Further, notice of the Sale and the Bidding Procedures

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  1   will be published on the U.S. Bankruptcy Court for the Central District of California’s website.
  2   Therefore, notice is proper.
  3            The price for the Property is fair and reasonable. The price is in line with the current
  4   market price of comparable properties. Yoshikane Declaration at ¶ 4. The Buyer’s offer of
  5   $1,350,000 is the highest and best offer for the Property that the Trustee has received to date. Id.
  6   The estate and its unsecured creditors will have an opportunity to participate in a potential
  7   distribution as a result of the sale of the Property. The proposed Bidding Procedures will ensure
  8   that the estate realizes the highest possible sales price for the Property. Accordingly, the price is
  9   reasonable and in the best interest of the estate and its creditors.
 10            “Good faith encompasses fair value, and further speaks to the integrity of the transaction.”
 11   In re Wilde Horse Enterprises, Inc., 136 B.R. 830, 842 (Bankr. C.D. Cal. 1991) (internal quotation
 12   marks omitted). Bad faith includes collusion between buyer and seller or otherwise taking unfair
 13   advantage of other potential purchasers, such as a collusive insider transaction. Id. See also In re
 14   Indus. Valley Refrigeration & Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa.
 15   1987).
 16            Here, the sale was negotiated at arm’s length and in good faith. There is no indication of
 17   fraud, collusion, or an insider transaction, and the Buyers have not received any special treatment
 18   or consideration. The Property has been actively marketed, the Bidding Procedures will be
 19   properly noticed, and the Trustee has accepted the highest and best offer received to date, which
 20   offer is subject to overbid at the hearing on the Motion. Therefore, the Sale is made in good faith.
 21            D.     The Payment of Agent and BKGRES’ Commissions Should be Authorized
 22            The Trustee requests that the Court authorize the payment of the real estate commission in
 23   the amount of 5% of the purchase price of the Property to be paid by BofA as an 11 U.S.C. § 506
 24   surcharge. Specifically, Agent, BKGRES, and any agent for the buyer(s) will seek 1/3 of the 5%
 25   commission. The agreement approved by this Court’s Order dated November 1, 2019 [Docket
 26   No. 51] provides that the estate will not be liable, under any circumstances, to compensate Agent,
 27   BKGRES, or any agent of the buyer(s). Accordingly, the Trustee requests that the Court approve
 28   payment of the real estate commission.

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  1          E.      The Buyers Are Good Faith Purchasers
  2          The Buyers are good faith purchasers entitled to the protections under 11 U.S.C. § 363(m).
  3   “Though the Bankruptcy Code and Rules do not provide a definition of good faith, courts
  4   generally have followed traditional equitable principles in holding that a good faith purchaser is
  5   one who buys ‘in good faith’ and ‘for value.’” In re Ewell, 958 F.2d 276, 281 (9th Cir. 1992)
  6   (citing In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3rd Cir. 1986)). Lack of
  7   good faith may be shown by “fraud, collusion between the purchaser and other bidders or the
  8   trustee, or an attempt to take grossly unfair advantage of other bidders.” In re Ewell, 958 F.2d
  9   276, 281 (9th Cir. 1992) (quoting In re Suchy, 786 F.2d 900, 902 (9th Cir. 1985)); see also In re
 10   Indus. Valley Refrigeration & Air Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa.
 11   1987) (the good faith requirement “focuses principally on the element of special treatment of the
 12   debtor’s insiders in the sale transaction”).
 13          Here, the proposed Sale is neither predicated on fraud nor collusion. The Sale is not to an
 14   insider. Further, no insiders have received any special consideration or other treatment. The
 15   Property was extensively marketed, and the Buyers presented the Trustee with the highest and best
 16   offer. Accordingly, the Trustee requests that this Court find that the Buyers are good faith
 17   purchasers entitled to the protections of 11 U.S.C. § 363(m).
 18          F.      The Court Should Waive the 14-Day Stay of FRBP 6004(h)
 19          Bankruptcy Rule 6004(h) provides that an order authorizing the sale of property is stayed
 20   until the expiration of 14 days after the entry of the order, unless the court otherwise orders.
 21   Absent any objection to the Motion, Trustee requests that the 14-day stay provided for in
 22   Bankruptcy Rule 6004(h) be waived.
 23   ///
 24   ///
 25   ///
 26   ///
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  1   V.    CONCLUSION
  2         WHEREFORE, Trustee respectfully requests that the Court enter an Order:
  3         1. Granting the Motion in its entirety;
  4         2. Approving the Sale of the Property;
  5         3. Approving Sale Free and Clear of Liens;
  6         4. Approving Carve-Out;
  7         5. Approving the Agents’ Commission;
  8         6. Finding Buyers Are Good Faith Purchasers Under 11 U.S.C. § 363(m); and
  9         7. Waiving the 14-day stay of FRBP 6004(h).
 10                                              Respectfully submitted,
 11
      Dated: November 26, 2019                   GOE FORSYTHE & HODGES LLP
 12
                                                 By: /s/Robert P. Goe_______________________
 13                                                 Robert P. Goe
                                                    Attorneys for Chapter 7 Trustee,
 14
                                                    Richard A. Marshack
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  1                         DECLARATION OF RICHARD A. MARSHACK
  2          I, Richard A. Marshack, declare and state that I am the duly appointed and acting chapter 7
  3   trustee for the bankruptcy estate of Alain Azoulay (“Debtor”). Unless otherwise stated, I have
  4   personal knowledge of the facts set forth herein. I am over 18 years of age, and if called to testify,
  5   then I would honestly and competently testify hereto. I make this declaration in support of this
  6   Motion. Unless otherwise stated, defined terms are as set forth in this Motion.
  7          1.      On April 25, 2019 (“Petition Date”), Debtor filed a voluntary petition for relief
  8   under Chapter 7 of the Bankruptcy Code, commencing Case No. 8:19-bk-11550-TA.
  9          2.      I am the duly appointed, qualified, and acting chapter 7 Trustee for Debtor’s estate.
 10          3.      On April 22, 2006, Debtor signed a deed of trust (“DoT”) creating a lien against the
 11   Property (defined below) in the original amount of $1,150,000 in favor of Bank of America, N.A.
 12   (“Lien”). On April 28, 2006, Bank of America, N.A. (“BofA”) recorded the DoT in the Los
 13   Angeles County Recorder’s Office as instrument number 06-937210.
 14          4.      In Debtor's Schedule A, he listed an ownership interest in the property located at
 15   327 Salta Verde Point, Long Beach, CA 90803 [APN: 7242-028-104] (the “Property”).
 16          5.      According to the Preliminary Title Report (“PTR”), the Property is also
 17   encumbered by homeowners association assessment liens in favor of Spinnaker Homeowners
 18   Association (“HOA”). The first of which was recorded on August 10, 2010, as instrument number
 19   XX-XXXXXXX in the amount of $1,440; the second of which was recorded on May 29, 2012 as
 20   instrument number 12-790961 in the amount of $1,555.00 (collectively the “HOA Liens”).
 21   Further, the Property (defined below) is encumbered by three judgment liens. Specifically, the
 22   judgment liens are in favor of Midland Funding, LLC in the amount of $8,893.10 (recorded on
 23   June 29, 2012 as instrument number 12-972496), Paul W. Wylie as Trustee of the Urban Coyotes
 24   Living Trust dated July 1, 2001 and Linton Family LLC, a Nevada limited liability company in the
 25   amount of $6,281.90 (recorded on August 22, 2012 as instrument number XX-XXXXXXX), and Cach,
 26   LLC in the amount of $3,092.40 (recorded on July 15, 2014 as instrument number 14-728764)
 27   (collectively “Judgment Liens”), respectively. A true and correct copy of the PTR is attached
 28   hereto as Exhibit “1”.

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  1            6.    The Property is currently leased by Munir Ahmen (“Tenant”). To date, the Tenant
  2   has been cooperative with my efforts to effectuate a sale of the Property.
  3            7.    On October 11, 2019, I filed the Application to Employ (1) BK Global Real Estate
  4   Services (“BKGRES”) and (2) Clarence Yoshikane with Coldwell Banker (“Agent”) as my real
  5   estate agent (the “Application”) [Docket No. 46]. On November 1, 2019, the Court entered an
  6   order approving the Application [Docket No. 51]. Agent, BKGRES, and any agent for the
  7   buyer(s) will each seek 1/3 of the 5% commission as approved by the Court’s November 1, 2019
  8   Order.
  9            8.    The Buyers offered to purchase the Property for the sum of $1,350,000 (the
 10   “Sale”), free and clear of all liens, claims, and interests. A true and correct copy of the Residential
 11   Purchase Agreement and Joint Escrow Instructions and all addenda is attached hereto as Exhibit
 12   “2”.
 13            9.    The Buyers have made an initial deposit by certified check in the amount of
 14   $50,000 (the “Deposit”), which is currently held in trust, pending Court approval of the Sale. The
 15   Deposit is only refundable only if Buyers are not the Successful Bidder at the Online Auction.
 16            10.   I am informed that there will be no adverse tax consequences to the estate.
 17            11.   I estimate that the bankruptcy estate will receive approximately $67,500 in net
 18   proceeds from the sale of the Property. Agent, BKGRES, and any agent for the buyer(s) will
 19   receive their share of the 5% commission to be paid by BofA. I estimate that the other costs of
 20   sale (escrow, title, and incidental costs) will be approximately 2% of the total sales price. A true
 21   and correct copy of the proposed Closing Statement is attached hereto as Exhibit “3”.
 22            12.   I believe that it is in the best interest of the estate and its creditors to proceed with
 23   the proposed sale of the Property to Buyers for the sum of $1,350,000, subject to overbid at the
 24   hearing on the Motion.
 25            13.   I entered into the Carve-Out with BofA which provides the estate will receive 5%
 26   assuming the minimum bid is at least $1,305,000 of the Successful Bid plus the Agent’s
 27   Commission (the “Carve-Out”). I shall be provided additional hazard insurance by BofA to cover
 28   myself and the estate from liability during the sale process and up through and including the

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  1   closing of any sale. The cost of the insurance shall be billed directly to BofA, and the expense of
  2   the insurance shall not be paid by the estate but shall be paid by BofA.
  3           14.     I believe that the Sale, subject to overbid at the hearing on this Motion, will ensure
  4   that the highest possible price for the Property is realized for the estate and its creditors.
  5           15.     In my business judgment, I submit that the Sale, subject to overbid, is fair and
  6   reasonable.
  7           16.     The Sale was negotiated at arms-length and in good faith. Further, there is no
  8   indication of fraud, collusion, or an insider transaction, and the Buyers have not received any
  9   special treatment or consideration.
 10       I declare, under penalty of perjury under the laws of the United States of America that the
 11   foregoing is true and correct. Executed this ______ day of November 2019 at ____________
                                                                                  ________________,
 12   California.
 13
 14                                   By: __________________________________
                                                                    _
                                          Richard A. Marshack, Chapter 7 Trustee
                                                  A Marshack
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                   EXHIBIT 1




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CLTA Preliminary Report Form                                                             Order Number: O-SA-5961164
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                                    First American Title Company
                                                        4 First American Way
                                                        Santa Ana, CA 92707
                                          California Department of Insurance License No. 151
Order Number:                                          O-SA-5961164 (dt)

Title Officer:                                             Debbie Tognetti
Phone:                                                     (714)250-8579
Fax No.:                                                   (714)481-2956
E-Mail:                                                    FAHQ-RA-octitle3@firstam.com
Owner:                                                     Alain E. Azoulay
Property:                                                  327 Salta Verde Point
                                                           Long Beach, CA 90803

                                                    PRELIMINARY REPORT

In response to the above referenced application for a policy of title insurance, this company hereby reports that it is prepared to
issue, or cause to be issued, as of the date hereof, a Policy or Policies of Title Insurance describing the land and the estate or
interest therein hereinafter set forth, insuring against loss which may be sustained by reason of any defect, lien or encumbrance not
shown or referred to as an Exception below or not excluded from coverage pursuant to the printed Schedules, Conditions and
Stipulations of said Policy forms.

The printed Exceptions and Exclusions from the coverage and Limitations on Covered Risks of said policy or policies are set forth in
Exhibit A attached. The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less than that set
forth in the arbitration clause, all arbitrable matters shall be arbitrated at the option of either the Company or the Insured as the
exclusive remedy of the parties. Limitations on Covered Risks applicable to the CLTA and ALTA Homeowner's Policies of Title
Insurance which establish a Deductible Amount and a Maximum Dollar Limit of Liability for certain coverages are also set forth in
Exhibit A. Copies of the policy forms should be read. They are available from the office which issued this report.

Please read the exceptions shown or referred to below and the exceptions and exclusions set forth in Exhibit A of
this report carefully. The exceptions and exclusions are meant to provide you with notice of matters which are not
covered under the terms of the title insurance policy and should be carefully considered.

It is important to note that this preliminary report is not a written representation as to the condition of title and
may not list all liens, defects, and encumbrances affecting title to the land.

This report (and any supplements or amendments hereto) is issued solely for the purpose of facilitating the issuance of a policy of
title insurance and no liability is assumed hereby. If it is desired that liability be assumed prior to the issuance of a policy of title
insurance, a Binder or Commitment should be requested.




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 Dated as of May 28, 2019 at 7:30 A.M.

 The form of Policy of title insurance contemplated by this report is:

 ALTA/CLTA Homeowner's (EAGLE) Policy of Title Insurance (2013) and ALTA Ext Loan Policy 1056.06
 (06-17-06) if the land described is an improved residential lot or condominium unit on which there is
 located a one-to-four family residence; or ALTA Standard Owner's Policy 2006 (WRE 06-17-06) and the
 ALTA Loan Policy 2006 (06-17-06) if the land described is an unimproved residential lot or condominium
 unit

 A specific request should be made if another form or additional coverage is desired.

 Title to said estate or interest at the date hereof is vested in:


       Alain Elie Azoulay, A Single Man

 The estate or interest in the land hereinafter described or referred to covered by this Report is:

       A FEE AS TO PARCEL(S) 1, AN EASEMENT AS TO PARCEL(S) 2, 3 AND 4

 The Land referred to herein is described as follows:

 (See attached Legal Description)

 At the date hereof exceptions to coverage in addition to the printed Exceptions and Exclusions in said
 policy form would be as follows:


1.     General and special taxes and assessments for the fiscal year 2019-2020, a lien not yet due or
       payable.

2.     The lien of supplemental taxes, if any, assessed pursuant to Chapter 3.5 commencing with Section 75
       of the California Revenue and Taxation Code.

3.     Any easements or servitudes appearing in the public records.
       Affects:      Common Area.



4.     The terms and provisions contained in the document entitled "MCGRATH-MACCO BOUNDARY
       SETTLEMENT AND EXCHANGE AGREEMENT" recorded April 13, 1971 as INSTRUMENT NO. 18 OF
       OFFICIAL RECORDS.

5.     The terms and provisions contained in the document entitled "MCGRATH-MACCO BOUNDARY
       SETTLEMENT AND EXCHANGE AGREEMENT" recorded December 14, 1970 as INSTRUMENT NO. 210,
       BOOK M-3634, PAGE 399 OF OFFICIAL RECORDS.




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       Document(s) declaring modifications thereof recorded December 14, 1970 as INSTRUMENT NO. 211,
       BOOK M-3634, PAGE 526; APRIL 3, 1973 AS INSTRUMENT NO. 3386, BOOK M-4337, PAGE 57 AND
       MARCH 9, 1988 AS INSTRUMENT NO. 88-322699, ALL of Official Records.

6.     NON-EXCLUSIVE DRILL-THROUGH RIGHTS FOR WELL BORE PURPOSES, LOCATED AT A DEPTH OF
       500 FEET, OR MORE, BELOW THE PRESENT NATURAL SURFACE OF THE GROUND AS SHOWN ON
       EXHIBITS "A" AND "B" ATTACHED TO THE HEREIN REFERENCED MCGRATH-MACCO BOUNDARY
       SETTLEMENT AND EXCHANGE AGREEMENT, AND AS AMENDED.

       SAID NON-EXCLUSIVE RIGHT SHALL BE ONLY FOR THE MAINTENANCE OF WELL BORES, CASINGS,
       TUBING AND OTHER FACILITIES INSTALLED THEREIN OF WELLS DRILLED FROM DRILL SITES FOR
       PURPOSES OF PRODUCING OIL OR GAS OR OTHER HYDROCARBONS OR FOR PURPOSES OF WATER
       INJECTION AS A PART OF SECONDARY RECOVERY OF OIL OR GAS OR OTHER HYDROCARBONS, OR
       AS A PART OF MEASURES TAKEN TO AMELIORATE ANY POSSIBLE LAND SUBSIDENCE OR AS A PART
       OF ANY PROGRAM TO PREVENT SALT WATER INTRUSION INTO DOMESTIC WATER SUPPLIES, IN
       FAVOR OF THE CITY OF LONG BEACH, A MUNICIPAL CORPORATION BOTH IN ITS MUNICIPAL
       CAPACITY AND AS TRUSTEE CREATED PURSUANT TO CHAPTER 102, STATUTES OF 1925 AND
       CHAPTER 158, STATUTES OF 1935, A SUBSEQUENTLY AMENDED AND MODIFIED, AS SET FORTH IN
       A DEED RECORDED ON APRIL 13, 1971 AS INSTRUMENT NO. 11 IN BOOK D5022 PAGE 979,
       OFFICIAL RECORDS AS GRANTED BY DEED RECORDED APRIL 13, 1971 AS INSTRUMENT NO. 13, IN
       BOOK D5023 PAGE 991, OFFICIAL RECORDS AS RESERVED IN DEED RECORDED APRIL 13, 1971 AS
       INSTRUMENT NO. 14 IN BOOK D5024 PAGE 1 OF OFFICIAL RECORDS, AS RESERVED IN DEED
       RECORDED APRIL 23, 1973 AS INSTRUMENT NO. 2971 IN BOOK D5842 PAGE 312 OF OFFICIAL
       RECORDS AND AS RESERVED IN DEED RECORDED APRIL 23, 1973 AS INSTRUMENT NO. 2977 IN
       BOOK D5842 PAGE 384, OFFICIAL RECORDS.

       AFFECTS: THE HEREIN DESCRIBED LAND AND OTHER LAND

7.     An unrecorded lease dated , executed by NONE SHOWN as lessor and SECURITY PACIFIC NATIONAL
       BANK, A NATIONAL BANKING ASSOCIATION as lessee, as disclosed by a A AMENDMENT TO OIL AND
       GAS LEASE DRILLSITE LEASE AND WELLBORE AGREEMENT recorded August 11, 1975 as
       INSTRUMENT NO. 2863 of Official Records.

       Defects, liens, encumbrances or other matters affecting the leasehold estate, whether or not shown
       by the public records.

8.     THE DRILL THROUGH EASEMENTS AND OTHER EASEMENTS AND RIGHTS IN AND TO ALL THE
       DRILL THROUGH EASEMENTS AS GRANTED TO SECURITY PACIFIC NATIONAL BANK, AS TRUSTEE
       UNDER THE WILL OF WARREN F. MCGRATH, DECEASED, BY THE CITY OF LONG BEACH, AS
       REFLECTED IN THE MCGRATH-MACCO BOUNDARY SETTLEMENT AND EXCHANGE AGREEMENT,
       RECORDED DECEMBER 14, 1970 IN BOOK M3634 PAGE 399, AS AMENDED BY THE FIRST
       AMENDMENT THERETO, RECORDED DECEMBER 14, 1970 IN BOOK M3634 PAGE 526 AND THE
       SECOND AMENDMENT THERETO, RECORDED APRIL 3, 1973 IN BOOK M4337 PAGE 57, ALL
       OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY AND AS
       FURTHER REFLECTED IN VARIOUS DEEDS FROM THE CITY OF LONG BEACH, ALL OF WHICH ARE
       RECORDED IN OFFICIAL RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

       SAID EASEMENT AND RIGHTS WERE RESERVED BY SECURITY PACIFIC NATIONAL BANK, AS
       TRUSTEE UNDER THE WILL OF WARREN F. MCGRATH, DECEASED, IN DEED RECORDED JUNE 30,
       1983 AS INSTRUMENT NO. 83-740564, OFFICIAL RECORDS.

       SAID MATTER AFFECTS PORTIONS OF SAID LAND BELOW A DEPTH OF 500 FEET.




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 9.     SAID EASEMENT AND RIGHTS GRANTED TO THE LESSEE OVER THOSE PORTIONS OF LAND MORE
        PARTICULARLY DESCRIBED IN THE FOLLOWING LEASES:

        A. THAT CERTAIN OIL AND LEASE, DRILLSITE LEASE AND WELLBORE AGREEMENT, DATED
        DECEMBER 12, 1974 BETWEEN EXCHANGER AND WARREN E. TEN EYCK AND DANIEL W. ELLIOTT,
        JR., AS AMENDED BY AMENDMENT TO OIL AND GAS LEASE, DRILLSITE LEASE AND WELLBORE
        AGREEMENT DATED AUGUST 7, 1975; EXTENSION OF OIL AND GAS LEASE, DATED OCTOBER 19,
        1976; EXTENSION OF OIL AND GAS LEASE, DATED FEBRUARY 12, 1978; EXTENSION AND
        MODIFICATION OF OIL AND GAS LEASE DATED MAY 6, 1980; SECOND AMENDMENT TO OIL AND
        GAS LEASE, DRILLSITE LEASE AND WELLBORE AGREEMENT DATED MAY 6, 1980; THIRD
        AMENDMENT TO OIL AND GAS LEASE, DRILLSITE LEASE AND WELLBORE AGREEMENT DATED MAY
        6, 1980; FOURTH AMENDMENT TO OIL AND GAS LEASE; DRILLSITE LEASE AND WELLBORE
        AGREEMENT DATED FEBRUARY 9, 1981; FIFTH AMENDMENT TO OIL AND GAS LEASE, DRILLSITE
        LEASE AND WELLBORE AGREEMENT, DATED AUGUST 28, 1961; AND SIX THE AMENDMENT TO OIL
        AND GAS LEASE, DRILLSITE LEASE AND WELLBORE AGREEMENT DATED JANUARY 4, 1982.

        B. THAT CERTAIN OIL LEASE DATED SEPTEMBER 30, 1936 BETWEEN WARREN F. MCGRATH AND
        CONTINENTAL OIL COMPANY, AND THAT CERTAIN OIL AND GAS LEASE DATED JULY 29, 1958 BY
        AND BETWEEN SECURITY PACIFIC NATIONAL BANK, A NATIONAL BANKING ASSOCIATION, AS
        EXECUTOR OF THE LAST WILL AND TESTAMENT OF WARREN F. MCGRATH, AND DOUGLAS OIL CO.
        OF CALIFORNIA, ATLANTIC OIL COMPANY, AND F. E. FAIRFIELD, AS SAID LEASES HAVE BEEN
        MODIFIED BY MODIFICATION AGREEMENT DATED DECEMBER 15, 1972; AGREEMENT DATED
        SEPTEMBER 22, 1978; AMENDMENT TO AGREEMENT, RE OIL AND GAS LEASES, DATED JUNE 10,
        1980; AND AMENDMENT OF OIL AND GAS LEASE AND QUITCLAIM DATED NOVEMBER 19, 1980.

        ALL OF SAID EASEMENTS AND RIGHTS SHALL SURVIVE THE TERMINATION OF SAID LEASES, AS
        DISCLOSED IN AND RESERVED PERPETUALLY BY SECURITY FIRST NATIONAL BANK, AS TRUSTEE
        UNDER THE WILL OF WARREN F. MC-GRATH, DECEASED, IN DEED RECORDED JUNE 30, 1983 AS
        INSTRUMENT NO. 83-740564.

        FOR: THE RIGHT TO PLACE, REPLACE, AND MAINTAIN SAID EASEMENT AND RIGHTS
        AFFECTS: THE RIGHT TO ENTER UPON, OVER, ALONG, ACROSS, UNDER AND THROUGH SAID LAND

10.     An easement for public utilities and incidental purposes in the document recorded February 17,
        1982 as INSTRUMENT NO. 82-172305 of Official Records.

11.     RECITALS AS SHOWN ON THAT CERTAIN MAP KNOWN AS TRACT NO. 45920, WHICH, AMONG
        OTHER THINGS STATES:

        "SAID EASEMENTS FOR STORM DRAIN SHALL INCLUDE SURFACE DRAINAGE COMING FROM A
        PUBLIC STREET AND ENTERING OR PASSING ON A PRIVATE STREET FOR DISPOSITION INTO THE
        PUBLIC SYSTEM OUTLET DOWN SYSTEM DOWN STEAM.THE CITY OF LONG BEACH SHALL BE FREE
        FROM ANY LIABILITY FOR DAMAGES, ON ACCOUNT OF SAID SURFACE DRAINAGE EASEMENT ON
        PRIVATE STREETS AS MAINTENANCE OF SAID PRIVATE STREETS ARE TO BE DONE BY THE OWNER
        OF THE TRACT, WE HEREBY OFFER TO THE PUBLIC USE THE PRIVATE STREETS SHOWN ON SAID
        MAP RESERVING TO OURSELVES ALL ORDINARY USES OF SAID LAND EXCEPT THE ERECTION OR
        CONSTRUCTION OF ANY STRUCTURE NOT ORDINARILY PLACED IN PUBLIC STREETS, UNTIL SUCH
        TIME AS SAID STREET IS ACCEPTED AND OPENED FOR PUBLIC USE, WE DO HEREBY, AND FOR
        OUR HEIRS, EXECUTORS, ADMINISTRATORS, SUCCESSORS AND ASSIGNS, JOINTLY AND
        SEVERALLY AGREE THAT ALL PRIVATE STREETS SHOWN ON THIS MAP WILL ACCEPT DRAINAGE
        WATER DISCHARGED FROM ANY ADJOINING STREET, WHETHER IT BY A PUBLIC STREET, OR A
        PRIVATE AND FUTURE STREET, AND FURTHER AGREE THAT THE CITY OF LONG BEACH IS HEREBY
        FREE AND CLEAR OF ANY CLAIMS OR DAMAGES ARISING FROM SAID DRAINAGE.".




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12.     Covenants, conditions, restrictions, assessments, liens, charges, terms and provisions in the
        document recorded July 13, 1983 as INSTRUMENT NO. 83-793623 of Official Records, which provide
        that a violation thereof shall not defeat or render invalid the lien of any first mortgage or deed of
        trust made in good faith and for value, but deleting any covenant, condition, or restriction indicating
        a preference, limitation or discrimination based on race, color, religion, sex, sexual orientation,
        familial status, disability, handicap, national origin, genetic information, gender, gender identity,
        gender expression, source of income (as defined in California Government Code § 12955(p)) or
        ancestry, to the extent such covenants, conditions or restrictions violation 42 U.S.C. § 3604(c) or
        California Government Code § 12955. Lawful restrictions under state and federal law on the age of
        occupants in senior housing or housing for older persons shall not be construed as restrictions based
        on familial status.

        Document(s) declaring modifications thereof recorded March 01, 1984 as INSTRUMENT NO. 84-
        257277 AND JULY 24, 1987 AS INSTRUMENT NO. XX-XXXXXXX, BOTH of Official Records.

13.     Any and all offers of dedications, conditions, restrictions, easements, notes and/or provisions shown
        or disclosed by the filed or recorded map referred to in the legal description including but not limited
        to: PUBLIC UTILITY and incidental purposes affecting said land.

14.     An easement for WATER, GAS, OIL, POWER, PIPE LINES AND TELEPHONE LINES and incidental
        purposes in the document recorded September 28, 1989 as INSTRUMENT NO. XX-XXXXXXX of Official
        Records.

15.     An easement for public utilities and incidental purposes in the document recorded July 02, 1990 as
        INSTRUMENT NO. XX-XXXXXXX of Official Records.

16.     Covenants, conditions, and restrictions in the document recorded June 02, 1980 as INSTRUMENT NO.
        80-537485 of Official Records, which provide that a violation thereof shall not defeat or render invalid
        the lien of any first mortgage or deed of trust made in good faith and for value, but deleting any
        covenant, condition, or restriction indicating a preference, limitation or discrimination based on race,
        color, religion, sex, sexual orientation, familial status, disability, handicap, national origin, genetic
        information, gender, gender identity, gender expression, source of income (as defined in California
        Government Code § 12955(p)) or ancestry, to the extent such covenants, conditions or restrictions
        violation 42 U.S.C. § 3604(c) or California Government Code § 12955. Lawful restrictions under state
        and federal law on the age of occupants in senior housing or housing for older persons shall not be
        construed as restrictions based on familial status.

17.     An easement for INGRESS AND EGRESS and incidental purposes in the document recorded June 30,
        1983 as INSTRUMENT NO. 83-740564 of Official Records.

18.     The Terms, Provisions and Easement(s) contained in the document entitled "CHANNEL EASEMENT
        AND MAINTENANCE AGREEMENT" recorded July 24, 1987 as INSTRUMENT NO. XX-XXXXXXX of
        Official Records.

19.     An easement for BOAT SLIP and incidental purposes in the document recorded February 21, 1989
        as INSTRUMENT NO. 89-274788 of Official Records.

20.     Covenants, conditions, restrictions, assessments, liens, charges, terms and provisions in the
        document recorded February 21, 1989 as INSTRUMENT NO. 89-274789 of Official Records, which
        provide that a violation thereof shall not defeat or render invalid the lien of any first mortgage or
        deed of trust made in good faith and for value, but deleting any covenant, condition, or restriction
        indicating a preference, limitation or discrimination based on race, color, religion, sex, sexual
        orientation, familial status, disability, handicap, national origin, genetic information, gender, gender


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        identity, gender expression, source of income (as defined in California Government Code § 12955(p))
        or ancestry, to the extent such covenants, conditions or restrictions violation 42 U.S.C. § 3604(c) or
        California Government Code § 12955. Lawful restrictions under state and federal law on the age of
        occupants in senior housing or housing for older persons shall not be construed as restrictions based
        on familial status.

        Document(s) declaring modifications thereof recorded September 28, 1989 as INSTRUMENT NO. 89-
        1569326; FEBRUARY 16, 1993 AS INSTRUMENT NO. 93-288973; SEPTEMBER 27, 1994 AS
        INSTRUMENT NO. XX-XXXXXXX; MARCH 18, 1998 AS INSTRUMENT NO. 98-443742; MAY 20, 1998,
        INSTRUMENT NO. 98-849194; JUNE 2, 1998, INSTRUMENT NO. 98-929750 AND JULY 18, 1997,
        INSTRUMENT NO. XX-XXXXXXX, ALL of Official Records.

21.     Covenants, conditions, and restrictions in the document recorded February 21, 1989 as INSTRUMENT
        NO. 89-274790 of Official Records, but deleting any covenant, condition, or restriction indicating a
        preference, limitation or discrimination based on race, color, religion, sex, sexual orientation, familial
        status, disability, handicap, national origin, genetic information, gender, gender identity, gender
        expression, source of income (as defined in California Government Code § 12955(p)) or ancestry, to
        the extent such covenants, conditions or restrictions violation 42 U.S.C. § 3604(c) or California
        Government Code § 12955. Lawful restrictions under state and federal law on the age of occupants
        in senior housing or housing for older persons shall not be construed as restrictions based on familial
        status.

        Document(s) declaring modifications thereof recorded September 27, 1994 as INSTRUMENT NO. 94-
        1771495 AND MARCH 18, 1998 AS INSTRUMENT NO. 98-443743, BOTH of Official Records.

22.     ANY INVALIDITY OF THE BOAT SLIP EASEMENT INTEREST INSURED HEREIN BE REASON BY OF IT
        CONVEYANCE TO OR FROM A PERSON OR ENTITY THAT DOES NOT OWN OR CONCURRENTLY
        ACQUIRE A FEE INTEREST IN ANY PORTION OF THAT CERTAIN REAL PROPERTY LOCATED IN THE
        CITY OF LONG BEACH, COUNTY OF LOS ANGELES, DESCRIBED AS LOTS 2, 3, 6 AND 14 THROUGH
        26, OF TRACT 36414, AS PER MAP RECORDED IN BOOK 966 PAGES 54 TO 63 INCLUSIVE, OF MAPS,
        IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.

23.     Covenants, conditions, and restrictions in the document recorded July 18, 1997 as INSTRUMENT NO.
        XX-XXXXXXX of Official Records, which provide that a violation thereof shall not defeat or render
        invalid the lien of any first mortgage or deed of trust made in good faith and for value, but deleting
        any covenant, condition, or restriction indicating a preference, limitation or discrimination based on
        race, color, religion, sex, sexual orientation, familial status, disability, handicap, national origin,
        genetic information, gender, gender identity, gender expression, source of income (as defined in
        California Government Code § 12955(p)) or ancestry, to the extent such covenants, conditions or
        restrictions violation 42 U.S.C. § 3604(c) or California Government Code § 12955. Lawful restrictions
        under state and federal law on the age of occupants in senior housing or housing for older persons
        shall not be construed as restrictions based on familial status.

24.     Covenants, conditions, restrictions, assessments, liens, charges, terms and provisions in the
        document recorded February 21, 1989 as INSTRUMENT NO. 89-274789 AND FEBRUARY 21, 1989 AS
        INSTRUMENT NO. 89-274790; FEBRUARY 16, 1993 AS INSTRUMENT NO. 93-288973; MARCH 18,
        1998 AS INSTRUMENT NO. 98-443742; JUNE 13, 1990 AS INSTRUMENT NO. XX-XXXXXXX AND
        DECEMBER 18, 1998, INSTRUMENT NO. XX-XXXXXXX of Official Records, which provide that a
        violation thereof shall not defeat or render invalid the lien of any first mortgage or deed of trust
        made in good faith and for value, but deleting any covenant, condition, or restriction indicating a
        preference, limitation or discrimination based on race, color, religion, sex, sexual orientation, familial
        status, disability, handicap, national origin, genetic information, gender, gender identity, gender
        expression, source of income (as defined in California Government Code § 12955(p)) or ancestry, to
        the extent such covenants, conditions or restrictions violation 42 U.S.C. § 3604(c) or California


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        Government Code § 12955. Lawful restrictions under state and federal law on the age of occupants
        in senior housing or housing for older persons shall not be construed as restrictions based on familial
        status.

25.     An easement for PRIVATE AREA DRAIN and incidental purposes in the document recorded March 18,
        1998 as INSTRUMENT NO. 98-443742 AND DECEMBER 18, 1998, INSTRUMENT NO. 98-297768,
        BOTH of Official Records.

26.     An easement for SIDEYARD and incidental purposes in the document recorded December 18, 1998
        as INSTRUMENT NO. 98-443742 AND DECEMBER 18, 1998 AS INSTRUMENT NO. XX-XXXXXXX,
        BOTH of Official Records.

27.     A deed of trust to secure an original indebtedness of $1,150,000.00 recorded APRIL 28, 2006 as
        INSTRUMENT NO. 06-937210 OF OFFICIAL RECORDS.
        Dated:                             APRIL 22, 2006
        Trustor:                           ALAIN ELIE AZOULAY
        Trustee:                           PRLAP, INC.
        Beneficiary:                       BANK OF AMERICA, N.A.



        A document recorded APRIL 28, 2015 as INSTRUMENT NO. 15-475868 OF OFFICIAL RECORDS
        provides that QUALITY LOAN SERVICE CORPORATION was substituted as trustee under the deed of
        trust.

        A notice of default recorded APRIL 28, 2015 as INSTRUMENT NO. 15-475869 OF OFFICIAL
        RECORDS.

        A notice of trustee's sale recorded APRIL 02, 2019 as INSTRUMENT NO. 19-285787 OF OFFICIAL
        RECORDS.

28.     A notice of homeowners association assessment lien recorded AUGUST 10, 2010 as INSTRUMENT
        NO. XX-XXXXXXX OF OFFICIAL RECORDS.

        Association:            ALAIN AZOULAY
        Amount:                 $1,440.00, and any other amounts due thereunder.

29.     A notice of homeowners association assessment lien recorded MAY 29, 2012 as INSTRUMENT NO.
        12-790961 OF OFFICIAL RECORDS.

        Association:            ALAIN ELIE AZOULAY
        Amount:                 $1,555.00, and any other amounts due thereunder.

        A notice of default recorded March 06, 2013 as INSTRUMENT NO. 13-340807 OF OFFICIAL
        RECORDS.

30.     A certified copy of a judgment or an   abstract thereof, recorded June 29, 2012 as INSTRUMENT NO.
        12-972496 OF OFFICIAL RECORDS.
        Court:                                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
        Case No.:                              11C04567
        Debtor:                                ALAIN AZOULAY
        Creditor:                              MIDLAND FUNDING LLC
        Amount:                                $8,893.10, and any other amounts due thereunder.


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31.     A certified copy of a judgment or an abstract thereof, recorded August 22, 2012 as INSTRUMENT NO.
        XX-XXXXXXX OF OFFICIAL RECORDS.
        Court:                               SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
        Case No.:                            PC047620
        Debtor:                              ALAIN AZOULAY, GARY MASON, ESQ., COUNSEL FOR OLD
                                             TOWNE FINANCIAL, INC., CAMBRIDGE FUNDING, INC. C/O
                                             CALIFORNIA SECRETARY OF STATE
        Creditor:                            PAUL W. WYLIE, TRUSTEE OF THE URBAN COYOTES LIVING
                                             TRUST DATED JULY 1, 2001 AND LINTON FAMILY LLC, A
                                             NEVADA LIMITED LIABILITY COMPANY
        Amount:                              $6281.90, and any other amounts due thereunder.

32.     A certified copy of a judgment or an   abstract thereof, recorded July 15, 2014 as INSTRUMENT NO.
        14-728764 OF OFFICIAL RECORDS.
        Court:                                 SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
        Case No.:                              13N12719
        Debtor:                                ALAIN E AZOULAY, AN INDIVIDUAL
        Creditor:                              CACH, LLC C/O: MANDARICH LAW GROUP, LLP
        Amount:                                $3092.40, and any other amounts due thereunder.

33.     Any easements and/or servitudes affecting easement parcel(s) 2, 3 AND 4 herein described.

34.     Rights of parties in possession.

35.     Water rights, claims or title to water, whether or not shown by the public records.

36.     This transaction may be subject to a Geographic Targeting Order ("GTO") issued pursuant to the
        Bank Secrecy Act. Information necessary to comply with the GTO must be provided prior to the
        closing. This transaction will not be insured until this information is submitted, reviewed and found to
        be complete.




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                                         INFORMATIONAL NOTES

 Note: The policy to be issued may contain an arbitration clause. When the Amount of Insurance is less
 than the certain dollar amount set forth in any applicable arbitration clause, all arbitrable matters shall be
 arbitrated at the option of either the Company or the Insured as the exclusive remedy of the parties. If
 you desire to review the terms of the policy, including any arbitration clause that may be included,
 contact the office that issued this Commitment or Report to obtain a sample of the policy jacket for the
 policy that is to be issued in connection with your transaction.



1.     General and special taxes and assessments for the fiscal year 2018-2019.

       First Installment:                  $10,433.84, PAID
       Penalty:                            $0.00
       Second Installment:                 $10,433.83, PAID
       Penalty:                            $0.00
       Tax Rate Area:                      43-05500
       A. P. No.:                          7242-028-104

2.     This report is preparatory to the issuance of an ALTA Loan Policy. We have no knowledge of any fact
       which would preclude the issuance of the policy with CLTA endorsement forms 100 and 116 and if
       applicable, 115 and 116.2 attached.

       When issued, the CLTA endorsement form 116 or 116.2, if applicable will reference a(n) Single
       Family Residence LYING WITHIN A PLANNED UNIT DEVELOPMENT known as 327 SALTA VERDE
       POINT, LONG BEACH, CA.

3.     According to the public records, there has been no conveyance of the land within a period of twenty-
       four months prior to the date of this report, except as follows:

       None

       NOTE to proposed insured lender only: No Private transfer fee covenant, as defined in Federal
       Housing Finance Agency Final Rule 12 CFR Part 1228, that was created and first appears in the Public
       Records on or after February 8, 2011, encumbers the Title except as follows: None

 The map attached, if any, may or may not be a survey of the land depicted hereon. First American
 expressly disclaims any liability for loss or damage which may result from reliance on this map except to
 the extent coverage for such loss or damage is expressly provided by the terms and provisions of the title
 insurance policy, if any, to which this map is attached.




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                                         LEGAL DESCRIPTION

Real property in the City of Long Beach, County of Los Angeles, State of California, described as follows:

PARCEL 1

LOT 45 AND 46, OF TRACT NO 45920, IN THE CITY OF LONG BEACH, COUNTY OF LOS ANGELES, STATE
OF CALIFORNIA, AS PER MAP RECORDED IN BOOK 1137 PAGE(S) 20 TO 26 INCLUSIVE OF MAPS, IN
THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY

EXCEPT THEREFROM THAT PORTION OF SAID LOT 45 LYING NORTHERLY AND NORTHEASTERLY OF
THE FOLLOWING DESCRIBED LINE

BEGINNING AT A POINT ON THE NORTHWESTERLY LINE OF SAID LOT 45 DISTANT NORTH 61° 33' 51"
EAST 25.80 FEET FROM THE SOUTHWESTERLY TERMINUS OF THE COURSE SHOWN AS NORTH 61 ° 33'
51" EAST 62.87 FEET ALONG THE NORTHWESTERLY LINES OF SAID LOTS 45 AND 44 OF SAID TRACT,
THENCE LEAVING SAID NORTHWESTERLY LINES OF SAID LOTS 45 AND 44 OF SAID TRACT, THENCE
LEAVING SAID NORTHWESTERLY LINE, SOUTH 18° 00' 09" EAST 44.50 FEET, THENCE SOUTH 42° 27'
09" EAST 34.33 FEET TO THE SOUTHEASTERLY LINE OF SAID LOT 45

ALSO EXCEPT THEREFROM THOSE PORTIONS OF SAID LOTS 45 AND 46 LYING SOUTHWESTERLY OF
THE FOLLOWING DESCRIBED LINE

BEGINNING AT A POINT ON THE NORTHWESTERLY LINE OF SAID LOT 46 DISTANT SOUTH 47° 32' 51"
WEST 27.55 FEET FROM THE NORTHEASTERLY TERMINUS OF THE COURSE SHOWN AS NORTH 47° 32'
51" EAST 80.19 FEET ALONG THE NORTHWESTERLY LINES OF SAID LOTS 46 AND 47 OF SAID TRACT,
THENCE LEAVING SAID NORTHWESTERLY LINE SOUTH 42° 27' 09" EAST 44.62 FEET, THENCE NORTH
47° 32' 51" EAST 6.00 FEET, THENCE SOUTH 42° 27' 09" EAST 52.09 FEET TO THE EASTERLY LINE OF
SAID LOT 45

SAID LAND IS DESCRIBED AS PARCEL 45 IN LOT LINE ADJUSTMENT RECORDED JANUARY 29, 1998 AS
INSTRUMENT NO 98-154949

EXCEPT THEREFROM ALL MINERALS, GAS, OIL, PETROLEUM, NAPHTHA AND OTHER HYDROCARBON
SUBSTANCES, IN AND UNDER SAID LAND LYING BELOW A DEPTH OF 500 FEET FROM THE SURFACE,
WITHOUT HOWEVER THE RIGHT OF SURFACE ENTRY, AS RESERVED OR EXCEPTED IN A DEED
RECORDED APRIL 13, 1971 AS INSTRUMENT NO 14 IN BOOK D-5024 PAGE 1, OFFICIAL RECORDS

EXCEPT THEREFROM ALL MINERALS, GAS, OIL, PETROLEUM, NAPHTHA AND OTHER HYDROCARBON
SUBSTANCES, IN AND UNDER SAID LAND LYING BELOW A DEPTH OF 500 FEET FROM THE SURFACE,
WITHOUT HOWEVER, THE RIGHT OF SURFACE ENTRY, AS RESERVED OR EXCEPTED IN DEED(S) OF
RECORD ALSO EXCEPT CERTAIN RIGHTS AND RESERVATIONS FOR VARIOUS PURPOSES AS CONTAINED
AND AS RESERVED IN THE DEED FROM SECURITY FIRST NATIONAL BANK, A NATIONAL BANKING
ASSOCIATION, AS TRUSTEE UNDER THE WILL OF WARREN F MCGRATH, DECEASED IN DEED
RECORDED JUNE 30, 1983 AS INSTRUMENT NO 83-740564.

SAID RIGHT AND RESERVATIONS ARE QUOTED FROM SAID DEED AND RECITED AS FOLLOWS

EXCEPT THEREFROM ALL MINERALS, GAS, OIL, PETROLEUM, NAPHTHA AND OTHER HYDROCARBON
SUBSTANCES, IN AND UNDER SAID LAND LYING BELOW A DEPTH OF 300 FEET FROM THE SURFACE,
WITHOUT HOWEVER, THE RIGHT OF SURFACE ENTRY, AS RESERVED OR EXCEPTED IN DEED(S) OF
RECORD

GRANTEE SHALL HAVE NO RIGHT TO DRILL INTO OR THROUGH ANY PORTION OF SAID RESERVED
LANDS AND SHALL HAVE NO RIGHT TO GRANT TO OTHERS ANY SUCH RIGHT TO DRILL


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PARCEL 2

AN EXCLUSIVE EASEMENT FOR SIDEYARD PURPOSES OVER A PORTION OF AN ADJACENT LOT TO THE
PROPERTY ON TRACT 45920, WHICH PORTION IS SHOWN AND ASSIGNED ON EXHIBIT "C" TO THE
NOTICE AND DESCRIBED AS A SIDEYARD EASEMENT AREA IN THE HOMES DECLARATION, SUCH AS
EASEMENT IS LIMITED BY THE HOMES DECLARATION

PARCEL 3

NONEXCLUSIVE EASEMENTS FOR ACCESS, INGRESS AND EGRESS, USE AND ENJOYMENT, DRAINAGE,
ENCROACHMENT, SUPPORT, MAINTENANCE, REPAIRS, AND FOR OTHER PURPOSES, ALL AS DESCRIBED
IN THE HOMES DECLARATION, THE SLIP DECLARATION, THE HOMES NOTICE AND THE SLIP NOTICE.

PARCEL 4

AN EASEMENT APPURTENANT TO PARCELS 1 AND 2, FOR ACCESS, INGRESS AND EGRESS, OVER LOTS
9 AND 10 OF TRACT 36414 IN THE CITY OF LONG BEACH, COUNTY OF LOS ANGELES, STATE OF
CALIFORNIA, AS PER MAP RECORDED IN BOOK 966 PAGES 54 TO 63 INCLUSIVE OF MAPS, IN THE
OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, AND AS AMENDED BY "CERTIFICATE OF
CORRECTION" RECORDED MARCH 16, 1983 AS INSTRUMENT NO 83-294243, IN THE OFFICE OF THE
COUNTY RECORDER OF SAID COUNTY

EXCEPT THEREFROM ALL MINERALS, GAS, OIL, PETROLEUM, NAPHTHA AND OTHER HYDROCARBON
SUBSTANCES, IN AND UNDER SAID LAND LYING BELOW A DEPTH OF 500 FEET FROM THE SURFACE,
WITHOUT HOWEVER, THE RIGHT OF SURFACE ENTRY, AS RESERVED OR EXCEPTED IN DEED(S) OF
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                                                   NOTICE

Section 12413.1 of the California Insurance Code, effective January 1, 1990, requires that any title insurance
company, underwritten title company, or controlled escrow company handling funds in an escrow or sub-
escrow capacity, wait a specified number of days after depositing funds, before recording any documents in
connection with the transaction or disbursing funds. This statute allows for funds deposited by wire transfer
to be disbursed the same day as deposit. In the case of cashier's checks or certified checks, funds may be
disbursed the next day after deposit. In order to avoid unnecessary delays of three to seven days, or more,
please use wire transfer, cashier's checks, or certified checks whenever possible.




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                                                                 EXHIBIT A
                                         LIST OF PRINTED EXCEPTIONS AND EXCLUSIONS (BY POLICY TYPE)


                                             CLTA STANDARD COVERAGE POLICY – 1990
                                                    EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy and the Company will not pay loss or damage, costs,
attorneys' fees or expenses which arise by reason of:
1. (a) Any law, ordinance or governmental regulation (including but not limited to building or zoning laws, ordinances, or regulations)
           restricting, regulating, prohibiting or relating (i) the occupancy, use, or enjoyment of the land; (ii) the character, dimensions or
           location of any improvement now or hereafter erected on the land; (iii) a separation in ownership or a change in the
           dimensions or area of the land or any parcel of which the land is or was a part; or (iv) environmental protection, or the effect
           of any violation of these laws, ordinances or governmental regulations, except to the extent that a notice of the enforcement
           thereof or a notice of a defect, lien, or encumbrance resulting from a violation or alleged violation affecting the land has been
           recorded in the public records at Date of Policy.
     (b) Any governmental police power not excluded by (a) above, except to the extent that a notice of the exercise thereof or notice
           of a defect, lien or encumbrance resulting from a violation or alleged violation affecting the land has been recorded in the
           public records at Date of Policy.
2. Rights of eminent domain unless notice of the exercise thereof has been recorded in the public records at Date of Policy, but not
     excluding from coverage any taking which has occurred prior to Date of Policy which would be binding on the rights of a purchaser
     for value without knowledge.
3. Defects, liens, encumbrances, adverse claims or other matters:
     (a) whether or not recorded in the public records at Date of Policy, but created, suffered, assumed or agreed to by the insured
           claimant;
     (b) not known to the Company, not recorded in the public records at Date of Policy, but known to the insured claimant and not
           disclosed in writing to the Company by the insured claimant prior to the date the insured claimant became an insured under
           this policy;
     (c) resulting in no loss or damage to the insured claimant;
     (d)   attaching or created subsequent to Date of Policy; or
     (e)   resulting in loss or damage which would not have been sustained if the insured claimant had paid value for the insured
           mortgage or for the estate or interest insured by this policy.
4.   Unenforceability of the lien of the insured mortgage because of the inability or failure of the insured at Date of Policy, or the inability
     or failure of any subsequent owner of the indebtedness, to comply with the applicable doing business laws of the state in which the
     land is situated.
5.   Invalidity or unenforceability of the lien of the insured mortgage, or claim thereof, which arises out of the transaction evidenced by
     the insured mortgage and is based upon usury or any consumer credit protection or truth in lending law.
6.   Any claim, which arises out of the transaction vesting in the insured the estate of interest insured by this policy or the transaction
     creating the interest of the insured lender, by reason of the operation of federal bankruptcy, state insolvency or similar creditors'
     rights laws.
                                            EXCEPTIONS FROM COVERAGE - SCHEDULE B, PART I
This policy does not insure against loss or damage (and the Company will not pay costs, attorneys' fees or expenses) which arise by
reason of:
1. Taxes or assessments which are not shown as existing liens by the records of any taxing authority that levies taxes or assessments
     on real property or by the public records.
     Proceedings by a public agency which may result in taxes or assessments, or notices of such proceedings, whether or not shown by
     the records of such agency or by the public, records.
2. Any facts, rights, interests, or claims which are not shown by the public records but which could be ascertained by an inspection of
     the land or which may be asserted by persons in possession thereof.
3. Easements, liens or encumbrances, or claims thereof, not shown by the public records.
4.   Discrepancies, conflicts in boundary lines, shortage in area, encroachments, or any other facts which a correct survey would
     disclose, and which are not shown by the public records.
5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights,
     claims or title to water, whether or not the matters excepted under (a), (b) or (c) are shown by the public records.
6.   Any lien or right to a lien for services, labor or material not shown by the public records.




                                   CLTA/ALTA HOMEOWNER'S POLICY OF TITLE INSURANCE (12-02-13)
                                                          EXCLUSIONS

In addition to the Exceptions in Schedule B, You are not insured against loss, costs, attorneys' fees, and expenses resulting from:
1. Governmental police power, and the existence or violation of those portions of any law or government regulation concerning:
     a. building;
     b. zoning;
     c. land use;



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     d. improvements on the Land;
     e. land division; and
     f. environmental protection.
     This Exclusion does not limit the coverage described in Covered Risk 8.a., 14, 15, 16, 18, 19, 20, 23 or 27.
2.   The failure of Your existing structures, or any part of them, to be constructed in accordance with applicable building codes. This Exclusion
     does not limit the coverage described in Covered Risk 14 or 15.
3.   The right to take the Land by condemning it. This Exclusion does not limit the coverage described in Covered Risk 17.
4.   Risks:
     a. that are created, allowed, or agreed to by You, whether or not they are recorded in the Public Records;
     b. that are Known to You at the Policy Date, but not to Us, unless they are recorded in the Public Records at the Policy Date;
     c. that result in no loss to You; or
     d. that first occur after the Policy Date - this does not limit the coverage described in Covered Risk 7, 8.e., 25, 26, 27 or 28.
5.   Failure to pay value for Your Title.
6.   Lack of a right:
     a. to any land outside the area specifically described and referred to in paragraph 3 of Schedule A; and
     b. in streets, alleys, or waterways that touch the Land.
     This Exclusion does not limit the coverage described in Covered Risk 11 or 21.
7.   The transfer of the Title to You is invalid as a preferential transfer or as a fraudulent transfer or conveyance under federal bankruptcy, state
     insolvency, or similar creditors' rights laws.
8.   Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
9.   Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.


                                                    LIMITATIONS ON COVERED RISKS

Your insurance for the following Covered Risks is limited on the Owner's Coverage Statement as follows:
For Covered Risk 16, 18, 19, and 21 Your Deductible Amount and Our Maximum Dollar Limit of Liability shown in Schedule A.
The deductible amounts and maximum dollar limits shown on Schedule A are as follows:

                                                  Your Deductible Amount                              Our Maximum Dollar Limit of Liability

Covered Risk 16:                    1% of Policy Amount Shown in Schedule A or $2,500                                $10,000
                                                    (whichever is less)

Covered Risk 18:                    1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                    (whichever is less)

Covered Risk 19:                    1% of Policy Amount Shown in Schedule A or $5,000                                $25,000
                                                    (whichever is less)

Covered Risk 21:                    1% of Policy Amount Shown in Schedule A or $2,500                                 $5,000
                                                    (whichever is less)




                                                   2006 ALTA LOAN POLICY (06-17-06)
                                                       EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
     or relating to

          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;

     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
     provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
     writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



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     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
     13, or 14); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.   Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
     laws of the state where the Land is situated.
5.   Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
     Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law.
6.   Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
     lien of the Insured Mortgage, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 13(b) of this policy.
7.   Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
     and the date of recording of the Insured Mortgage in the Public Records. This Exclusion does not modify or limit the coverage provided under
     Covered Risk 11(b).


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                          EXCEPTIONS FROM COVERAGE
[Except as provided in Schedule B - Part II,[ t[or T]his policy does not insure against loss or damage, and the Company will not pay costs,
attorneys' fees or expenses, that arise by reason of:
                                                                     [PART I
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:
1. (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2. Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
     that may be asserted by persons in possession of the Land.
3. Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4. Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5. (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
     title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6. Any lien or right to a lien for services, labor or material not shown by the public records.


                                                                         PART II
In addition to the matters set forth in Part I of this Schedule, the Title is subject to the following matters, and the Company insures against loss
or damage sustained in the event that they are not subordinate to the lien of the Insured Mortgage:]




                                                  2006 ALTA OWNER'S POLICY (06-17-06)
                                                        EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
     or relating to

          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;

     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the coverage
     provided under Covered Risk 5.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 6.
2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
     writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;



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     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 9 or
     10); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Title.
4.   Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction vesting the
     Title as shown in Schedule A, is
     (a) a fraudulent conveyance or fraudulent transfer, or
     (b) a preferential transfer for any reason not stated in Covered Risk 9 of this policy.
5.   Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching between Date of Policy
     and the date of recording of the deed or other instrument of transfer in the Public Records that vests Title as shown in Schedule A.


The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

                                                        EXCEPTIONS FROM COVERAGE

This policy does not insure against loss or damage, and the Company will not pay costs, attorneys' fees or expenses, that arise by reason of:
[The above policy form may be issued to afford either Standard Coverage or Extended Coverage. In addition to the above Exclusions from
Coverage, the Exceptions from Coverage in a Standard Coverage policy will also include the following Exceptions from Coverage:

1.   (a) Taxes or assessments that are not shown as existing liens by the records of any taxing authority that levies taxes or assessments on real
     property or by the Public Records; (b) proceedings by a public agency that may result in taxes or assessments, or notices of such
     proceedings, whether or not shown by the records of such agency or by the Public Records.
2.   Any facts, rights, interests, or claims that are not shown by the Public Records but that could be ascertained by an inspection of the Land or
     that may be asserted by persons in possession of the Land.
3.   Easements, liens or encumbrances, or claims thereof, not shown by the Public Records.
4.   Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the Title that would be disclosed by an accurate and
     complete land survey of the Land and not shown by the Public Records.
5.   (a) Unpatented mining claims; (b) reservations or exceptions in patents or in Acts authorizing the issuance thereof; (c) water rights, claims or
     title to water, whether or not the matters excepted under (a), (b), or (c) are shown by the Public Records.
6.   Any lien or right to a lien for services, labor or material not shown by the Public Records.
7.   [Variable exceptions such as taxes, easements, CC&R's, etc. shown here.]


                                ALTA EXPANDED COVERAGE RESIDENTIAL LOAN POLICY (07-26-10)
                                                EXCLUSIONS FROM COVERAGE

The following matters are expressly excluded from the coverage of this policy, and the Company will not pay loss or damage, costs, attorneys'
fees, or expenses that arise by reason of:

1.   (a) Any law, ordinance, permit, or governmental regulation (including those relating to building and zoning) restricting, regulating, prohibiting,
     or relating to

          (i) the occupancy, use, or enjoyment of the Land;
          (ii) the character, dimensions, or location of any improvement erected on the Land;
          (iii) the subdivision of land; or
          (iv) environmental protection;

     or the effect of any violation of these laws, ordinances, or governmental regulations. This Exclusion 1(a) does not modify or limit the
     coverage provided under Covered Risk 5, 6, 13(c), 13(d), 14 or 16.
     (b) Any governmental police power. This Exclusion 1(b) does not modify or limit the coverage provided under Covered Risk 5, 6, 13(c), 13(d),
     14 or 16.
2.   Rights of eminent domain. This Exclusion does not modify or limit the coverage provided under Covered Risk 7 or 8.
3.   Defects, liens, encumbrances, adverse claims, or other matters
     (a) created, suffered, assumed, or agreed to by the Insured Claimant;
     (b) not Known to the Company, not recorded in the Public Records at Date of Policy, but Known to the Insured Claimant and not disclosed in
     writing to the Company by the Insured Claimant prior to the date the Insured Claimant became an Insured under this policy;
     (c) resulting in no loss or damage to the Insured Claimant;
     (d) attaching or created subsequent to Date of Policy (however, this does not modify or limit the coverage provided under Covered Risk 11,
     16, 17, 18, 19, 20, 21, 22, 23, 24, 27 or 28); or
     (e) resulting in loss or damage that would not have been sustained if the Insured Claimant had paid value for the Insured Mortgage.
4.   Unenforceability of the lien of the Insured Mortgage because of the inability or failure of an Insured to comply with applicable doing-business
     laws of the state where the Land is situated.
5.   Invalidity or unenforceability in whole or in part of the lien of the Insured Mortgage that arises out of the transaction evidenced by the
     Insured Mortgage and is based upon usury or any consumer credit protection or truth-in-lending law. This Exclusion does not modify or limit
     the coverage provided in Covered Risk 26.
6.   Any claim of invalidity, unenforceability or lack of priority of the lien of the Insured Mortgage as to Advances or modifications made after the


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    Insured has Knowledge that the vestee shown in Schedule A is no longer the owner of the estate or interest covered by this policy. This
    Exclusion does not modify or limit the coverage provided in Covered Risk 11.
7. Any lien on the Title for real estate taxes or assessments imposed by governmental authority and created or attaching subsequent to Date of
    Policy. This Exclusion does not modify or limit the coverage provided in Covered Risk 11(b) or 25.
8. The failure of the residential structure, or any portion of it, to have been constructed before, on or after Date of Policy in accordance with
    applicable building codes. This Exclusion does not modify or limit the coverage provided in Covered Risk 5 or 6.
9. Any claim, by reason of the operation of federal bankruptcy, state insolvency, or similar creditors' rights laws, that the transaction creating the
    lien of the Insured Mortgage, is
    (a) a fraudulent conveyance or fraudulent transfer, or
    (b) a preferential transfer for any reason not stated in Covered Risk 27(b) of this policy.
10. Contamination, explosion, fire, flooding, vibration, fracturing, earthquake, or subsidence.
11. Negligence by a person or an Entity exercising a right to extract or develop minerals, water, or any other substances.




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Privacy Information
We Are Committed to Safeguarding Customer Information
In order to better serve your needs now and in the future, we may ask you to provide us with certain information. We understand that you may be concerned about what we will do with such
information - particularly any personal or financial information. We agree that you have a right to know how we will utilize the personal information you provide to us. Therefore, together with our
subsidiaries we have adopted this Privacy Policy to govern the use and handling of your personal information.

Applicability
This Privacy Policy governs our use of the information that you provide to us. It does not govern the manner in which we may use information we have obtained from any other source, such as
information obtained from a public record or from another person or entity. First American has also adopted broader guidelines that govern our use of personal information regardless of its source.
First American calls these guidelines its Fair Information Values.

Types of Information
Depending upon which of our services you are utilizing, the types of nonpublic personal information that we may collect include:
              Information we receive from you on applications, forms and in other communications to us, whether in writing, in person, by telephone or any other means;
              Information about your transactions with us, our affiliated companies, or others; and
              Information we receive from a consumer reporting agency.
Use of Information
We request information from you for our own legitimate business purposes and not for the benefit of any nonaffiliated party. Therefore, we will not release your information to nonaffiliated parties
except: (1) as necessary for us to provide the product or service you have requested of us; or (2) as permitted by law. We may, however, store such information indefinitely, including the period
after which any customer relationship has ceased. Such information may be used for any internal purpose, such as quality control efforts or customer analysis. We may also provide all of the types of
nonpublic personal information listed above to one or more of our affiliated companies. Such affiliated companies include financial service providers, such as title insurers, property and casualty
insurers, and trust and investment advisory companies, or companies involved in real estate services, such as appraisal companies, home warranty companies and escrow companies. Furthermore,
we may also provide all the information we collect, as described above, to companies that perform marketing services on our behalf, on behalf of our affiliated companies or to other financial
institutions with whom we or our affiliated companies have joint marketing agreements.

Former Customers
Even if you are no longer our customer, our Privacy Policy will continue to apply to you.

Confidentiality and Security
We will use our best efforts to ensure that no unauthorized parties have access to any of your information. We restrict access to nonpublic personal information about you to those individuals and
entities who need to know that information to provide products or services to you. We will use our best efforts to train and oversee our employees and agents to ensure that your information will be
handled responsibly and in accordance with this Privacy Policy and First American's Fair Information Values. We currently maintain physical, electronic, and procedural safeguards that comply with
federal regulations to guard your nonpublic personal information.

Information Obtained Through Our Web Site
First American Financial Corporation is sensitive to privacy issues on the Internet. We believe it is important you know how we treat the information about you we receive on the Internet.
In general, you can visit First American or its affiliates’ Web sites on the World Wide Web without telling us who you are or revealing any information about yourself. Our Web servers collect the
domain names, not the e-mail addresses, of visitors. This information is aggregated to measure the number of visits, average time spent on the site, pages viewed and similar information. First
American uses this information to measure the use of our site and to develop ideas to improve the content of our site.
There are times, however, when we may need information from you, such as your name and email address. When information is needed, we will use our best efforts to let you know at the time of
collection how we will use the personal information. Usually, the personal information we collect is used only by us to respond to your inquiry, process an order or allow you to access specific
account/profile information. If you choose to share any personal information with us, we will only use it in accordance with the policies outlined above.

Business Relationships
First American Financial Corporation's site and its affiliates' sites may contain links to other Web sites. While we try to link only to sites that share our high standards and respect for privacy, we are
not responsible for the content or the privacy practices employed by other sites.

Cookies
Some of First American's Web sites may make use of "cookie" technology to measure site activity and to customize information to your personal tastes. A cookie is an element of data that a Web site
can send to your browser, which may then store the cookie on your hard drive.
FirstAm.com uses stored cookies. The goal of this technology is to better serve you when visiting our site, save you time when you are here and to provide you with a more meaningful and
productive Web site experience.
--------------------------------------------------------------------------------
Fair Information Values
Fairness We consider consumer expectations about their privacy in all our businesses. We only offer products and services that assure a favorable balance between consumer benefits and consumer
privacy.
Public Record We believe that an open public record creates significant value for society, enhances consumer choice and creates consumer opportunity. We actively support an open public record
and emphasize its importance and contribution to our economy.
Use We believe we should behave responsibly when we use information about a consumer in our business. We will obey the laws governing the collection, use and dissemination of data.
Accuracy We will take reasonable steps to help assure the accuracy of the data we collect, use and disseminate. Where possible, we will take reasonable steps to correct inaccurate information.
When, as with the public record, we cannot correct inaccurate information, we will take all reasonable steps to assist consumers in identifying the source of the erroneous data so that the consumer
can secure the required corrections.
Education We endeavor to educate the users of our products and services, our employees and others in our industry about the importance of consumer privacy. We will instruct our employees on
our fair information values and on the responsible collection and use of data. We will encourage others in our industry to collect and use information in a responsible manner.
Security We will maintain appropriate facilities and systems to protect against unauthorized access to and corruption of the data we maintain.

Form 50-PRIVACY (9/1/10)                                                      Page 1 of 1                                Privacy Information (2001-2010 First American Financial Corporation)




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                   EXHIBIT 2




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                   EXHIBIT 3




                   EXHIBIT 3
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 American Land Title Association                                                                        ALTA Settlement Statement - Cash
                                                                                                                     Adopted 05-01-2015


                                                        Fidelity National Agency Solutions
                                                                ALTA Universal ID:
                                                                6500 Pinecrest Drive
                                                                      Suite 600
                                                                    Plano 75024


 File No./Escrow No. :               APS19-72406
 Print Date & Time:                  November 25, 2019 3:10 pm
 Officer/Escrow Officer :
 Settlement Location :

  Property Address:                  327 Salta Verde Point
                                     Long Beach, CA 90803
  Buyer:                            Oscar Mendoza and Linda Mendoza
                                    327 Salta Verde Point
                                    Long Beach, CA 90803
                                    Elizabeth Loera
                                    327 Salta Verde Point
                                    Long Beach, CA 90803
  Seller:                           Richard A. Marshack, as Trustee for the Bankruptcy Estate of Alain Azoulay
  Lender:                           TBD

  Settlement Date:                  December 27, 2019
  Disbursement Date:                December 27, 2019


                   Seller                                            Description                                         Buyer
         Debit                 Credit                                                                           Debit                Credit
                                                 Financial
                             1,350,000.00 Sale Price of Property                                             1,350,000.00


                                             Prorations/Adjustments
                                       39.52 December Assessment                                                      39.52
                                               12/27/19-12/31/19
         21,106.66                           County Taxes                                                                             21,106.66
                                               01/01/19 - 12/27/19

                                                 Other Loan Charges
           1,200.00                              Closing Coordination Fee to Bright Line Title, LLC                1,200.00
             100.00                              Doc Prep to Bright Line Title, LLC                                  100.00


                                                 Title Charges and Escrow/Settlement Charges
                                                 Endorsement 8.1 & 9 to Fidelity National Agency                      25.00
                                                 Solutions
                                                 Lender's Title Insurance to Fidelity National Agency                550.00
                                                 Solutions



                                                                                                                             File # APS19-72406 / 26
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                                                                     EXHIBIT "3"
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                   Seller                                            Description                                          Buyer
         Debit                 Credit                                                                            Debit                Credit
                                                 Title Charges and Escrow/Settlement Charges
                                                 (continued)
           2,604.00                              Owner's Title Insurance to Fidelity National Agency
                                                 Solutions
                                                 Tax Research Fee to Fidelity National Agency                          50.00
                                                 Solutions
             350.00                              Title Search & Exam Fee to Fidelity National
                                                 Agency Solutions
                                                 Title Search Update (2) to Fidelity National Agency                  150.00
                                                 Solutions
             400.00                              Lien Search Fee to Fidelity National Agency
                                                 Solutions


                                                 Commissions
         22,500.00                               Listing Agent Commission to Coldwell Banker
                                                 Residentail Brokerage
         22,500.00                               Selling Agent Commission to Coldwell Banker
                                                 Residential Brokerage


                                                 Government Recording and Transfer Charges
                                                 Recording Fees to Los Angeles County                                 463.00
           1,485.00                              Deed Stamps to Los Angeles County
             100.00                              Recording Fee Motion to Sell to Los Angeles
                                                 County


                                                 Payoff(s)
     1,184,398.86                                Payoff of First Mortgage Loan to Bank of America
                                                   Loan Payoff                               0.00
                                                                   Total Payoff      1,184,398.86


                                                 Miscellaneous
         67,500.00                               BK Trustee Liability Insurance to Richard A.
                                                 Marshack, as Trustee for the Bankruptcy
         22,500.00                               BKG Commission to BK Global
            295.00                               Closing Fee to Rich Title, Inc.
          3,000.00                               HOA Dues/Fees to Spinnaker Bay HOA

                    Seller                                                                                                Buyer
        Debit                  Credit                                                                            Debit                Credit
     1,350,039.52            1,350,039.52                           Subtotals                                 1,352,577.52             21,106.66
                                                                 Due from Buyer                                                     1,331,470.86
     1,350,039.52            1,350,039.52                             Totals                                  1,352,577.52          1,352,577.52




                                                                                                                              File # APS19-72406 / 26
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                                                                     EXHIBIT "3"
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   Acknowledgement
   We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts
   and disbursements made on my account or by me in this transaction and further certify that I have received a copy of the
   ALTA Settlement Statement. We/I authorize Fidelity National Agency Solutions to cause the funds to be disbursed in
   accordance with this statement.


   Buyer


   ___________________________________
   Oscar Mendoza

   ___________________________________
   Linda Mendoza

   ___________________________________
   Elizabeth Loera

   Seller


   Richard A. Marshack, as Trustee for the Bankruptcy Estate of Alain Azoulay

   BY:________________________________




   Settlement Agent




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  1                                          PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
      18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612
  3
      A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR
      ORDER: (1) APPROVING SALE OF REAL PROPERTY LOCATED AT 327 SALTA VERDE POINT, LONG BEACH,
  4   CA 90803; (2) APPROVING SALE FREE AND CLEAR OF LIENS; (3) APPROVING CARVE-OUT AGREEMENT; (4)
      APPROVING PAYMENT OF AGENTS’ COMMISSIONS; (5) FINDING BUYERS ARE GOOD FAITH PURCHASERS;
  5   AND (6) WAIVING THE 14-DAY STAY IMPOSED BY FRBP 6004(h); MEMORANDUM OF POINTS AND
      AUTHORITIES AND DECLARATIONS OF RICHARD A. MARSHACK AND CLARENCE YOSHIKANE IN SUPPORT
  6   THEREOF will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
      2(d); and (b) in the manner stated below:
  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
      Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
  8   November 26, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
      that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
  9   stated below:

 10          Frank Cadigan frank.cadigan@usdoj.gov
             Dana M Douglas dmddouglas@hotmail.com
 11          Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
             Edward W Hess ed_hess@pacbell.net, fsoriano@pacbell.net
 12          Nancy L Lee bknotice@mccarthyholthus.com, nlee@ecf.courtdrive.com
             Richard A Marshack (TR) pkraus@marshackhays.com, rmarshack@iq7technology.com
 13          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


 14                                                            Service information continued on attached page

 15   2. SERVED BY UNITED STATES MAIL:
      On (date) November 26, 2019, I served the following persons and/or entities at the last known addresses in
 16   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge
 17   here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 18   CLARENCE Yoshikane, 1551 N Tustin Avenue, Suite 850, Santa Ana, CA 92705
 19                                                            Service information continued on attached page
 20   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
 21   November 26, 2019, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 22   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 23
             The Honorable Theodor C. Albert, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 24
                                                               Service information continued on attached page
 25
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 26
       November 26, 2019          Susan C. Stein                                 /s/Susan C. Stein
 27    Date                       Printed Name                                   Signature

 28

                                                               21
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  1   SERVED BY UNITED STATES MAIL:
  2   Via Certified Mail:                                   Via Certified Mail:
      Brian T. Moynihan, CEO                                Bank of America, N.A.
  3   Bank of America, N.A.                                 c/o CT Corporation System, Agent for Service
      100 N. Tryon Street, Ste. 170                         818 W. Seventh St., Ste. 930
  4   Charlotte, NC 28202-4024                              Los Angeles, CA 90017

  5
                                                   Lienholders
  6
      Spinnaker Bay Homeowners Association                  Spinnaker Bay Homeowners Association, Inc.
  7   Manju Lal, Managing Agent                             c/o The Law Offices of Edward W. Hess, Jr.
      306 East Bay Drive, Unit B                            601 N. Parkcenter Dr., Ste. 107-108
  8   Newport Beach, CA 92661                               Santa Ana, CA 92705

  9   Spinnaker Bay Homeowners Association, Inc.            The Linton Family LLC
      c/o The Law Offices of Edward W. Hess, Jr.            c/o Francis O’Brian & Sons Publishing Co., Inc.,
 10   550 Parkcenter Dr., Ste. 105                          Registered Agent
      Santa Ana, CA 92705                                   2050 S. Magic Way, #295
 11                                                         Henderson, NV 89002

 12   Paul W. Wylie, Trustee of Urban Coyotes Living        Linda M. Linton, Manager
      Trust Dated July 1, 2001 and Linton Family LLC        Steven M. Linton, Manager
 13   c/o Richard M. Hoefflin, Esq.                         The Linton Family Trust, LLC
      Hoefflin Burrows, a Law Corporation                   c/o Francis O’Brian & Sons Publishing Co., Inc.,
      2659 Townsgate Rd., Ste. 232                          Registered Agent
 14
      Westlake Village, CA 91361-2756                       2050 S. Magic Way, #295
                                                            Henderson, NV 89002
 15
      Midland Funding LLC                                   Cach, LLC
 16   Gregory Call, Secretary                               Resurgent Capital Service
      350 Camino de la Reina, Ste. 300                      PO Box 10587
 17   San Diego, CA 92108                                   Greenville, SC 29603-0587
 18                                                         Cach, LLC / Wells Fargo Bank
                                                            c/o Mandarich Law Group, LLP
 19                                                         9200 Oakdale Avenue, Ste. 601
                                                            Chatsworth, CA 91311-6513
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